 4:15-cr-03024-JMG-CRZ     Doc # 41     Filed: 03/18/15   Page 1 of 1 - Page ID # 63




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                 Plaintiffs,                                4:15CR3024
     vs.
                                                               ORDER
ANTHONY SHAQUILLE HARRIS,
                 Defendants.


     IT IS ORDERED:


     1)    The motion of defense counsel, (filing no. 40), is hereby granted.

     2)    The custody of Anthony Shaquille Harris shall be temporarily transferred
           from the holding area in the Lincoln Federal Building to Investigator
           Martin Adams of the Federal Public Defender's Office on March 20, 2015
           for the purpose of an interview. The interview will be conducted at 1:00
           p.m. in the Lincoln Federal Defender’s Office. Upon conclusion of the
           interview, the Federal Public Defender's Office shall return Anthony
           Shaquille Harris to the custody of the United States Marshal.

     March 18, 2015.
                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
